
TAM Medical Supply Corp., as Assignee of Dor Guy Marcel, Appellant, 
againstAmerican Transit Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Richard G. Latin, J.), entered December 19, 2013. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment, and granted defendant's cross motion for summary judgment dismissing the complaint on the ground that the action was premature because plaintiff had failed to provide requested verification.
For the reasons stated in Performance Plus Med., P.C., as Assignee of Melanna Luckie v Nationwide Ins. (____ Misc 3d ____, 2016 NY Slip Op ______ [appeal No. 2013-2766 Q C], decided herewith), the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 11, 2016










